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                        IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                              :
 IN RE:                                       :   CHAPTER 13
                                              :
 THOMAS F. McMONAGLE, III,                    :   BANKRUPTCY NO. 21-12977-MDC
                                              :
                           Debtor.            :
                                              :

                 PRUDENTIAL BANK’S REMOTE WITNESS AND EXHIBIT LIST
                            FOR HEARING ON JULY 19, 2022

         Pursuant to the July 8, 2022 order of this Court, Prudential Bank (“Prudential”) submits the

following Remote Witness List and Exhibit List:

                                         Remote Witness List

1.       a.        Nicholas A. DiGianivittorio, Sr., First Vice President of Special Assets and Loan
                   Servicing Manager for Prudential Bank

         b.        Mr. DiGianivittorio will testify about the loan documents entered into by the
                   Debtor’s mother, the foreclosure process, Prudential’s efforts to sell the Property
                   serving as collateral for the loan, the Debtor’s payment history, the circumstances
                   that led to the Debtor’s various bankruptcy filings, and the events during the
                   bankruptcies.

         c.        ndigianivittorio@prudentialbanker.com

         d.        Sicklerville, NJ or Philadelphia, PA

         e.        Witness will testify from his home in Sicklerville, NJ or from a conference room
                   in Prudential’s Center City Financial Center.

         f.        No one else will be present in the room with this witness.

         g.        Witness will only have access to the documents included on this Exhibit List, and
                   any exhibits served on him by any other parties for the purposes of cross-
                   examination.




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                                            Exhibit List

    P-1.         Debtor’s Chapter 13 Voluntary Petition (DI #1)

    P-2.         Debtor’s Chapter 13 Plan (DI #13)

    P-3.         Prudential Bank’s Proof of Claim (Claim #4)

    P-4.         Objection of Prudential Bank to Confirmation of Debtor’s Chapter 13 Plan (DI #
                 24)

    P-5.         Debtor’s Objection to Proof of Claim #4 of Prudential Bank (DI #30)

    P-6.         Response of Prudential Bank to Debtor’s Objection to Proof of Claim Number 4
                 (DI #41)

    P-7.         Motion of Prudential Bank for Relief from the Automatic Stay of 11 U.S.C. §362
                 and for In Rem Relief (DI #43)

    P-8.         Chapter 13 Standing Trustee’s Amended Motion for Dismissal (DI #51)

    P-9.         Certified Docket Sheet for Prudential Bank’s Complaint in Mortgage Foreclosure
                 in Philadelphia County Court of Common Pleas, Docket Number 171001474

    P-10.        September 6, 2018 Affidavit of Service of Notice of Sheriff’s Sale

    P-11.        Debtor’s Chapter 13 Voluntary Petition for Docket No. 18-16574-MDC (DI #1)

    P-12.        Order Dismissing Debtor’s Chapter 13 Case for Docket No. 18-16574-MDC (DI
                 #86)

    P-13.        Debtor’s Motion to Reconsider Dismissal of Case for Docket No. 18-16574-MDC
                 (DI #88)

    P-14.        Prudential’s Objection to Debtor’s Motion to Reconsider Dismissal of Case for
                 Docket No. 18-16574-MDC (DI # 91)

    P-15.        Chapter 13 Standing Trustee’s Amended Final Report and Account for Docket
                 No. 18-16574-MDC (DI #96)

    P-16.        Order Denying Debtor’s Motion to Reconsider Dismissal of Case for Docket No.
                 18-16574-MDC (DI #98)

    P-17.        Debtor’s Chapter 13 Voluntary Petition for Docket No. 20-14411-MDC (DI #1)




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    P-18.        Order Dismissing Debtor’s Chapter 13 Case for Docket No. 20-14411-MDC (DI
                 #64)

    P-19.        2018 Real Estate Tax Invoice

    P-20.        2019 Real Estate Tax Invoice

    P-21.        2020 Real Estate Tax Invoice

    P-22.        2021 Real Estate Tax Invoice

    P-23.        2022 Real Estate Tax Invoice

    P-24.        2018 Proof of Forced Placed Insurance

    P-25.        2019 Proof of Forced Placed Insurance

    P-26.        2020 Proof of Forced Placed Insurance

    P-27.        2021 Proof of Forced Placed Insurance

    P-28.        2022 Proof of Forced Placed Insurance



         Prudential reserves the right to supplement this exhibit list, and will provide any

supplemental exhibits to the Court and all parties.

                                                Respectfully submitted,


Dated: July 14, 2022                  By:       /s/ Michael D. Vagnoni
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